                Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 1 of 32


  Samuel A. Diddle, ISB #4967
  EnEnLr, BeRLIN, KlotNc, TuRNsow
      & McKlveeu, Cnro.
  1111 W. Jefferson St., Suite 530
  P.O. Box 1368
  Boise, ID 83701-1368
  Telephone: (208) 344-8535
  Facsimile: (208) 344-8542
  Email: sdiddle@eberle.com

  Attorneys for Defendant

                                    LTNITED STATES DISTzuCT COURT

                                           DISTzuCT OF IDAHO

  JOHN LLOYD, an individual,
                                                        Case No
                             Plaintiff,
                                                        Twin Falls Court Case No. CV42-20-0030
 VS

                                                        NOTICE OF REMOVAL FROM
 BLUE CROSS OF IDAHO HEALTH                             STATE COURT
 SERVICE,INC. , an Idaho corporation doing
 business as BLUE CROSS OF IDAHO,

                            Defendant.


           PLEASE TAKE NOTICE THAT Defendant Blue Cross of Idaho Health Service, Inc., an

 Idaho not-for-profit mutual insurance company (hereinafter "Defendant"), by and through its

 attomeys of record, and respectfully allege as follows:

           1.        Thisnoticeof removalisfiledpursuantto23U.s.C. $g 1331,1446(a)and(b)for

the purpose of removing this action from the Fifth Judicial District of the State of Idaho, in and for

the County of Twin Falls.

           2.        On or about January 10,2020, Defendant received notice of this action. A true and

correct copy of the entire state court record and the Register of Actions is attached hereto           as

Exhibit A. This action was brought in the Fifth Judicial District of the State of ldaho, in and for   the

NOTICE OF REMOVAL FROM STATE COURT _ PAGE                            1
6065-l 67\00824080.000
                   Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 2 of 32


   County of Twin Falls, styled and captioned exactly as above, and assigned
                                                                             Case No. CV42-20-

   0030' No other pleadings or papers have            been filed   in this action with the exception of   a   Notice of
   Removal to Federal court, a copy of which is attached as Exhibit B.

               3'         Case   No. CV42-20-0030 is a civil action in which Plaintiff     seeks to recover against

   Defendant for alleged benefits owed under an employee benefit plan,
                                                                       which is subject                         to the
   Employee Retirement Income security Act                of   1974   ("ERISA").     See   plaintiffs complaint     at

  Paragraph l, Declaration of Christy Thomas at Paragraphs               I through 4 and Exhibit A thereto.
               4'         Plaintiff s Complaint attempts to state common law claims including claims
                                                                                                     alieging
  breach of contract, bad faith and estoppel, which claims are totally preempted
                                                                                 by ERISA, which
  creates an exclusive federal cause of action over employee benefits                                     plaintifls
                                                                      claims. In particular,

  claims against the Defendant arise under the laws of the United States, namely
                                                                                 ERISA. The well-
  pleaded complaint rule does not bar removal of this action due to complete
                                                                             preemption of the state

  conìmon law claim under ERISA.

               5'         The above-entitled action is a civil suit under an employee welfare benefit
                                                                                                      plan

 arising under EzuSA, 29 U.S.C. $ 1 132 et seq. This Court has original jurisdiction
                                                                                     of the above-
 entitled action pwsuant to 28 u.S.C. $ 1331, and under I 132(Ð of ERISA,
                                                       $                  without respect to the
 amount in controversy or citizenship of the parties. Removal of this action
                                                                             to this Court is proper
 pursuant to 28 U.S.C. g 1aa6(a), (b) and/or (d).

           6'         Pursuant      to 28 U.S.C. $ 1446(a), (b) and (d), this state        court action that was
conìmenced in the Fifth Judicial District of the State of Idaho, in and for the
                                                                                County of Twin Falls,

may be removed to the United States District Court for the District of ldaho.

           7   '      Proper notice    will be given this date to Plaintiff herein by and through his counsel of
record, and to the clerk of the District Court of the Fifth Judicial District of
                                                                                 the State of Idaho, in and


NOTICE OF REMOVAL FROM STATE COURT _ PAGE                                     2
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                Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 3 of 32


    for the County of Twin Falls, which will be filed with the District
                                                                        Court of the Fifth Judicial District

    of the State of ldaho, in and for Twin Falls County. A true and correct
                                                                            copy of the Notice                     is
    attached hereto as Exhibit B and by this reference incorporated
                                                                    as           if   set fonh in   full.
              9'          As of this date, upon the information and belief of Defendant, one
                                                                                             retum of service
   has been     filed with the Fifth Judicial District court, Twin Falls county, Idaho.

              WHEREFORE, Defendant prays that the above-entitled action pending
                                                                                against                     it in the
   District Court of the Fifth Judiciat District of the State of Idaho, in
                                                                           and for Twin Falls County, be

   removed to this Court.

             DATED this 3lsr day of January,2020

                                                       EBERLE, BERLIN, KADING, TURNBOV/
                                                         & McKLVEEN, CHARTERED


                                                                    Sam.uel A.   Diddl e
                                                          Samuel A. Diddle, of the firm
                                                          Attorneys for Defendant




NOTICE OF REMOVAL FROM STATE COURT                                  PAGE 3
6065- I 67\00824080.000                                         -
               Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 4 of 32



                                    CERTIF'ICATE OF SERVICE

          I HEREBY CERTIFY that a true and conect copy of the above and foregoing document
  was served upon the following attorney this 31st day of January,2020, as indicated below and
  addressed as follows:




    Brian J. Hilverda                                   X       U.S. Mail
    Steven R. McRae
                                                       T        Hand Delivery
    Adam J. Ondo
    HILVERDA MCRAE, PLLC
                                                       f
                                                       X
                                                                Overnight Mail
                                                                Email
    PO Box 1233                                                 bhilverda@magicvalleyleeal. com
    Twin Falls,ID 83303                                         ECF Notice
   Attorneysþr Plaintif




                                                   /s/ Samuel       .   Diddle
                                            Samuel A. Diddle




NOTICE OF REMOVAL FROM STATE COURT _ PAGE                       4
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Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 5 of 32




                     EXHIBIT       65A''
                Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 6 of 32


 Case Informatlon

 CV{æS.003û | John Lloyrt Plaintifr. !s, 8l$e Cross   Õt tdâhÕ   Hoâtth Sery¡ee. tnc. Defeñdânt.

 Cåse    NwbÈr                                                   Cou¡t                                                         Jld¡ciâl Õfiær
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Events.nd Hear¡ngs

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    Cmmen!
    qt Fdday, January 10, 20ã,' al 10:¡15 AM, I sorv€d thð $,íthin nffi6d Blus Croos of ldaho HeãIh S€rvicê,
                                                                                                             lnc. dtbtâ Bue Cro6s of tdeno by det¡vedng e Irue oopy
    of thè Sümmong, Complâint and Domând for I Jury Triål to Narict K¡mbd¡, Rêcorß Custodian
               Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 7 of 32


Financial

¡.rcVij larr
        Total Financial Assessment
                                                                                           $22r.00
        Total Payments and Cred¡ts
                                                                                           $221.00

 t/3t2020            Transôction Assessment
                                                                                          $221.00
 U312020             EFile Payment            Receipt # 0000220-2020-R42   Lloyd, lohn   ($221.00)
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    Brian f. Hilverda [lSB No. 7952]
    Steven R. McRae [lSB No. T9B4]
    Adam f. Ondo ISB No. 10389]
    HILVERDA MCRAE, PLLC
    812 Shoshone Streef East
    P.O, Box 1233
    Twin Falls, ID 83303-1233
    Telephone No. {20S) 944-ATSS
    Facsimile No. [208) 736-W4L
    b h i lvercla @ nl agicva I I eylqga l.çonr


    Atlorneys for Plainti ff

                    IN THE DISTRICT COURT OF THE FTFTH IUDICIAL DISTRICT OF THE
                        STATE OF IDAHO,IN AND FOR THE COUNTY OF TWTN FATLS


                                                                     cv42-20-0û30
   IOHN LLOYD, an inclividual,                           Case No.

                 Plaintifl
                                                         SUMMONS
   vs.

   BLUE CROSS OF IDAHO HEALTH SERVICE,
   lNC., a general business        corporãtion, dlbla
   BLUE CROSS OF IDAHO,

                 Defendant.




         NOTICE' YOU HAVE BEEN SUED BY THE ABOVE.NAMED PLAINTIFES: THE
                                                                       COURT
MAY ENTER JUDGMENT AGAINST YOU WITHOUT FURTHER NOTICE UNLESS YOU
                                                                    RESPOND
WITHIN 21 DAYS. READ THE INFORMATION BELOW.

  TO                    BI.IIË   CRNSC OF' IDAHO    NAI,TH Str      CE. INC   rl   /a Bl,llF      (.-R   ss    nF'
  IDAHO

        The nature of the claim againsl you is Ceneral Damages, Breach of Contract, Bacl
                                                                                         Faith,
  Estoppel, Special damages and Attorney Fees.

         You are hereby notified that in order to defencl this lawsuit, an appropriate
                                                                                       writte¡l
  response must be filecl with the Twin Falls District Court, Iocated at 4Z7 ihoihone
                                                                                       St. N., p0
  Bax L26', Twin Falls, Iclaho 83303-0126 within 21 clays after service of this Summons
                                                                                           on
  you. The Twin Falls District court can be reachecl ar"za}-736-402s.


  SUMMONS
  j,rrii,l-l-
        Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 9 of 32




         A copy of the Complaint is served with this Summons. If you wish to seek the aclvice
 of or representation by an altorney in this malter, you should do so promptly so that your
 written response, if any, may be filecl in time and other legal rights protecled.

        An appropriâte wrilten response requires compliance with Rule 10taJ(1) ancl other
 Iclaho Rules of Civil Procedure and shall also include:

          L,   The title and number of this case.
          2'   If your response is an Answer to the Complaint, it nust contain aclmissions or
               denials of the separate allegations of the Complaint ancl other clefenses you may
               claim.
          3.   Yottr signalure, mailing adclress and relephone number, or the signalure, rnailing
               address and telephone number of your attorney.
          4.   Proof of mailing or delivery of a copy of your resporìse to plaintiffls attorney, as
               clesignated above,

         To determine whether you must pay a filing fee with your response, contact the
 Clerlc of the above-named court,


                    1131202A
         DATED




                                               CI,ERK OF TFIg DISTRICl"COURT




                                               By       tôlr¿r,
                                                    Depuly Clerk




SUMMONS
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       Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 10 of 32
                                                                                   Electronically Filed
                                                                                   11212020 2:33 PM
                                                                                   Fifth Judicial Distr¡ct, Twin Falls County
                                                                                   Kristina Glascock, Clerk ol the Court
                                                                                   By: Elisha Raney. Oeputy Clerk


 Brian ]. Hilverda [lSB No. 79521
 Steven R, McRae [lSB No. 7984]
 Adam f. Onclo ISB No. 10389]
 HILVERDA MCRAE, PLLC
 81"2 Shoshone Street East
 P.O. Box 1233
 Twin Falls, lD 83303-1233
 Teleplrone No. (208j 944-0755
 Facsi¡nile No. [208) 736-AA41
 bh i lverd¿r ú) nra gi cva   II   eylega I.co nl



 Attorneys for Plaintiff


              IN THE DISTRICT COURT OF THE FIFTH IUDICIAL DISTRICT OF THE
                  STATE OF IDAHO, IN AND FOR THE COUNTYOF TWIN FALTS



 IOHN LLOYD, an individual,                                Case No
                                                                     cv42-2A-W3A

          Plaintiff,

vs.                                                        COMPLAINT AND DIMAND FOR
                                                               TRIAL
BLUE CROSS OF IDAHO HEALTH SERVICE,
                                                           'URY
INC., a general business corporation, d/b/a
BLUE CROSS OF IDAHO,

          Defendant.




          Ptaintiff fOHN LLOYD, by and through his attorney of recorcl, Hilverda McRae, PLLC,

hereby submits the fbllowingComplaint çnd Demand for Jury lnrfal against Defendant BLUE

cRoss oF IDAHO HEALTH sERvtcE, tNC., d/bla BLUE cRoss oF IDAHO.

                                             PARTIES AND JURISDICTION

         1.   ,OHN LLOYD ["Lloyd") is a resident of Twin Falls, Twin Falls County, Icla]ro.




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         Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 11 of 32




            2.     Upon infbrmalion ancl beliel BLUE CROSS OF IDAHO l-IEALTH SERVICE, lNC.,

    d/b/a      BLUE CROSS OF IDAHO ["Blue Cross") is presenlly, anci at all relevant times herein

    has been, a general business corporation doing business in the state of ldaho,

                                                            luRtsprcTroN
            3.     Venue is proper in T'win Falls County, Idaho, pursuant to ldaho Code              li 5-4A4,
    because Twin Falls County is the counly in which the cause of action arose.

           4.      jurisdiction is proper in the District Court pursl¡ant to ldaho Code g 5-514 and in

   that the amount of damages exceeds $10,000.00.

                                            COUNT I     -   BREACH OF CONTRACT

           5. Plaintiff      realleges each and every allegation previously stated and incorporate by

 ref'erence those allegations as if set forth at length.

           6.      Plainliffls Blue Cross of ldaho's group health insurance policy number

 14437173, provided Plaintiff with health insurance coverage in 2018, Twin Falls,'f'win

Falls County, Idaho.

           7   .   On October       7   ,201.8, Plaintiff was treatecl at St. Luke's Magic Valley Regional

MedicalCenter.

           B.      On October" LS ,2A1"8,          Plaintiff was treated by Mark W. Wright,   DDS.

           9.      On October'15,20LB, Defe¡rclanl Blue Cross pre-äpprovecl Plaintifl's clental

irnplants.

           1"0. On    October 19,20L8, Plaintiff underwent dental im¡rlant surgery.

           L1. The group policy holder, Milk Hauler Services, intentionally paicl Def'enclant Blue

Cross for insurance coverage through october 31, z0i.B fbr their employees.




CoN.tr'¡.^tNf i\ND D¡iMANt) l oti   Irr¡¡y'I'llnl - 2
         Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 12 of 32




             12. On October 23, ZA|B, the group policy holcler,                  Milk Hauler Services, emailecl

  Defendant Blue cross inforrning them allemployees had been laid-off.

            13. After receiving the Octobe r 23,2A18, email from the group policy holcler,

  Defendant Blue Cross ploceeded to backdate the group policy cancellation to Septemher

 30, 2018.

            1.4' On October 24,201.8, Defendant Blue Cross prepared a letter to Plaintiff

 informing him the health insurance policy was terminatecl as of Seplember 30. ZAß.

            15. The denialof benefits is a breach of the insurance contract, which causecidirect

 and consequential damages to Plaintiff,

            16. Plaintiff is entitled to collect in an amount over $10,000 clollars to be proven at

 tri;rl, plus interest at the rate of twelve percent (120/o) per ânnL¡m accruing since the date of

 breaclr until the date of judgment pursuant to ldaho code g z}-zz-La4.

                                                         COUNT II   - BAD FAITH
           17' Plaintiff realleges each                  ancl every allegation previou.sly stateci anci incorporate

 by reference those allegations as if set forth at length.

           LB' Defencl¿ìnt          h¿ìs    continued in its denialof benefits despite knowleclge of facts that

woulcl provide coverage. Defendant's denial olbenefits is unreasonable ancl not fairly

debatable and as such amounts to the tort of baci faith.

           19.    As a direct and approximate result of Defenclants' bad faith as a.ssertecl herein,

Plaintiflhas been deprived of the benefìts to which he is entitled a¡rd was forceclto incur

expenses to olrtain lhe benefits to which they were otherwise entitled and plaintiff has

otherwise been damagecl in a¡nourlts to be cleterminecl at trial.

                                                         COUNT IIT - ESTOPPEL



CoMl,t.rr¡N'f ANlr Dl;;rl¡¡lD r0n   f   unv'In¡nr. - 3
         Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 13 of 32




            2A'        Plaintifl realleges each and every allegatiorr previousty statecl and

  incolporate by relerence those allegations as if set forth at length.

            21.        Defendant advised Plaintiff and his ¡nedical providers that he was ins¡red

  and lhat he was pre-approved for the medicaltreatment, As such, Plaintiff relieel on this

  slalement of pre-appl"oval. Defendant dicl nol inform Plaintifi of insurance cover¿ìge

  cancellalion until afler medical and clenlal visits occurred.

            22'       Defendant pre-approvecl dental irnplants on October 'l.5,ZAL9,then cleniecl

 pâyment of fhe dental implants an Octobe¡" 24,ZAIT.

            23.       As a direct and approxinrate result of Defendants' estoppel as assertecl

 herein, Plaintiff has been ciepriveclof the benefits t6 which he is entitleclanclwas forcecl to

 incur expenses to obtain the benefits to which they were otherwise entitlecl and plaintiff

 has otherwise bee¡l damaged in amounts to be cletermined at tri¿rl.

                                                          ATTORNEY'S FEES

           24' Plaintiff claitns attorney's fees pursuant to Iclaho Code, inclucli¡g LC.         4j-
                                                                                         $S
 1839and 12-121' In the event of defauit, a reasonabie attorney's fee is thirty-five
                                                                                     t3S%l
perr:ent of the totalamount recovered.

                                                          DEMAND FOR IURY TRIAT

           25. A   jury trial is clemancled on all issues. Plaintiff will not stipulate to a jury of less

than twelve members.

                                                            PRAYER FOR   REIIIF
                     WHERËFORE, Plaintiff,fohn Lloyd pray fbr juclgrnent against the Defepclant

as   lollows:


     1    For special damages in an amount in the health insurance policy,s benefits;


Co¡utp¡.¡lt¡'r AND DliMltNu t'on   f   unv'l'tttnt. - 4
        Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 14 of 32




       2. For general damages            in an amount to be proven at trial

       3.   For reasonable attorney's fees and costs of suit;

      4.    For interest at lhe statutory ratej and

      5. For such other and further             relief as the court deems just and proper.

            DATED this 2nd day of January,ZAZ\.

                                                                 HILVERDA MCRAE, PLLC




                                                           By:   A/   B.lian J. Hilverda
                                                                 Brian J. Hilverda
                                                                 Attorney for Plaintiff




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Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 15 of 32




                      EXHIBTT       668''
               Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 16 of 32




  Samuel A. Diddle, ISB #4967
  EeERLe, BeRLtN, Kanruc, TuRNsow
    & McKlvpEN, CHro.
  1111 W. Jefferson St., Suite 530
  P.O. Box 1368
  Boise, ID 83701-1368
  Telephone: (208) 344-8535
  Facsimile: (208) 344-8542

  Attorneys for Defendant

               IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE

                     STATE OF IDAHO IN AND FOR THE COLINTY OF TWIN FALLS

 JOHN LLOYD, an individual,
                                                        Case   No. CV42-20-0030
                           Plaintiff,
                                                        NOTICE OF REMOVAL TO FEDERAL
 VS.                                                    COURT

 BLUE CROSS OF IDAHO HEALTH
 SERVICE, INC. , an ldaho corporation doing
 business as BLUE CROSS OF IDAHO

                           Defendant.


 TO:       Plaintiff above named and his counsel of record; and to the Clerk of the District Court of the
           Fifth Judicial District of the State of ldaho, in and for Twin Falls County:

           PLEASE TAKE NOTICE that Defendant Blue Cross of Idaho Health Service, Inc. filed on

the 31st day of January, 2020, aNotice of Removal from State Court of the above-entitled cause

from the District Court of Fifth Judicial District of the State of ldaho, in and for Twin Falls County,

to the United States District Court for the District of Idaho, and said District Court of the Fifth

Judicial District of the State of Idaho, in and for Twin County, shall proceed no further unless the

case is remanded.




NOTICE OF REMOVAL TO FEDERAL COURT _ PAGE                             1
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             Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 17 of 32


            A true and correct copy of the Notice of Removal From State Court is attached hereto   as

  Exhibit A, and by this reference incorporated herein   as   if   set forth in   full.

            DATED this 3lst day of January, 2020

                                                EBERLE, BERLIN, KADING, TURNBOW
                                                  & McKLVEEN, CHARTERED


                                                       /s/ Sam.uel A
                                                   Samuel A. Diddle, of the firm
                                                   Attomeys for Defendant




NOTICE OF REMOVAL TO FEDERAL COURT _ PAGE 2
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              Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 18 of 32


                                 CERTIFI CATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the above and foregoing document
  was served upon the following attorney this 31st day of January, 2020, as indicated below and
  addressed as follows:

   Brian J. Hilverda                                    l      U.S. Mail
   Steven R. McRae                                      T      Hand Delivery
   Adam J. Ondo                                         T      Overnight Mail
   HILVERDA MCRAE, PLLC                                 X      Icouf/Email
   PO Box 1233                                                 bhi lverda@ma gicvallyle gal. com
   Twin Falls,ID 83303
   Attorneysfor Plaintif




                                            /s/ Samuel A Diddle
                                            Samuel A. Diddle




NOTICE OF REMOVAL TO FEDERAL COURT _ PAGE 3
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Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 19 of 32




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             Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 20 of 32




 Samuel A. Diddle, ISB #4967
 EeeRLe, BEnLtN, KAnNc, TuRNsow
      & McKlveeN, Cnro.
 1111 W. Jefferson St., Suite 530
 P.O. Box 1368
 Boise,ID 83701-1368
 Telephone: (208) 344-8535
 Facsimile: (208) 344-8542

 Attorneys for Defendant

              IN THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE

                    STATE OF IDAHO IN AND FOR THE COLINTY OF TWIN FALLS

 JOHN LLOYD, an individual,
                                                        Case    No. CV42-20-0030
                           Plaintiff,
                                                        NOTICE OF RE,MOVAL TO FEDERAL
 VS                                                     COURT

BLUE CROSS OF IDAHO HEALTH
SERVICE, INC. , an Idaho corporation doing
business as BLUE CROSS OF IDAHO

                          Defendant


TO:        Plaintiff above named and his counsel of record; and to the Clerk of the District Court of the
           Fifth Judicial District of the State of ldaho, in and for Twin Falls County:

           PLEASE TAKE NOTICE that Defendant Blue Cross of Idaho Health Service, Inc. filed on

the 31st day of January,2020, aNotice of Removal from State Court of the above-entitled cause

from the District Court of Fifth Judicial District of the State of ldaho, in and for Twin Falls County,

to the United States District Court for the District of Idaho, and said District Court of the Fifth

Judicial District of the State of Idaho, in and for Twin County, shall proceed no further unless the

case is remanded.




NOTICE OF REMOVAL TO FEDERAL COURT                          -   PAGE   1
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            Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 21 of 32



           A true and correct copy of the Notice of Removal From State Court is attached hereto   as


 Exhibit A, and by this reference incorporated herein   as   if   set forth in   full.

           DATED this 3lst day of January, 2020.

                                               EBERLE, BERLIN, KADING, TURNBOW
                                                 & McKLVEEN, CHARTERED


                                               By        /s/ Samuel A
                                                    Samuel A. Diddle, of the firm
                                                    Attorneys for Defendant




NOTICE OF REMOVAL TO FEDERAL COURT _ PAGE                                 2
6065- l 67\00824078.000
            Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 22 of 32



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the above and foregoing document
was served upon the following attorney this 31st day of January,2020, as indicated below and
addressed as follows:

  Brian J. Hilverda                                    T      U.S. Mail
  Steven R. McRae                                      T      Hand Delivery
  Adam J. Ondo                                         T      Overnight Mail
  HILVERDA MCRAE, PLLC
  PO Box 1233
                                                       x      Icourt/Email
                                                              bhilverda@magicvallylegal. com
  Twin Falls,ID 83303
  Attorneysfor Plaintiff




                                          /s/ Samuel A. Diddle
                                          Samuel A. Diddle




NOTICE OF REMOVAL TO FEDERAL COURT                 -   PAGE   3
6065- I 67\00824078. 000
Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 23 of 32




                   EXHIBTT        66A'
                  Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 24 of 32
    Case        fnformation
    CV42-20-003O I John Lloyd pla¡ntiff, vs.
                                             Blue Cross of ldâho Heallh Seru¡ce. lnc.
                                                                                      Ðefendant.
    Case Number
                                                                Court
    cv42-20-0030                                                                                                             Jud¡c¡âl Offìcer
                                                               Twin Falls County Distr¡ct Court
   File Dale                                                                                                                Cluff, Bonjamin J.
                                                               Câse Type
   01t02t2020                                                                                                               Case Status
                                                               AA- All tn¡tial Distr¡ct Court Fitings (Not
                                                                                                           E, F, and H1)    Active - Pending




  Party

  Plaintiff
  Lloyd, John
                                                                                                                           Active Attorneys     r
                                                                                                                           Lead Attomey
                                                                                                                           Hilverda, Brían James
                                                                                                                           Retained




 Defêndant
 Blue Cross of ldaho Health Service, lnc.

  Al¡ases
  D6A Blue Cross of Idaho




Events and Hearings

  01/02!2020 tnitiat¡ng Document    _   District


 01¡02¡2020 Compta¡nt F¡ted     ,
    Comment
    and Demand for Jury Trial


 01 10212020   Summons lssued


01¡0212020 Civit Case lnformåtion
                                  Sheet


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              Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 25 of 32
Financial

Lloyd. John
      Total F¡nancial Assessment
      Total payments and Credits
                                                                                            $221.00
                                                                                            $221.00
 7/3/2020          Transact¡on Assessment

u3/2020            EFile Payment                                                          $221.00
                                            Rece¡pt   # 0000220-2020_R42
                                                                           Lloyd. John   ($221.00)
             Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 26 of 32
      Brian j. Hilvercla ltSB No. TTSZ)
      Steven R. McRae [tSB No. T9B4i
      Adarn J. Ondo [lSB No. 103S9]
      HiLVERDA MCRAE, PLLC
      812 Shoshone Street Easr
      P.O, Box 1233
      Tivin Falls, ID 83303-1233
      Tele¡:hone No. (208J 944-t7Ss
      Facsi¡nile No. IZOBJ 736-A041


      Attorneys for plaintiff

                   [N TF¡E DISTRICT COURT OF T'I.IE FIFTFI
                                                           ¡[JÐICI.AL D¡STRICT OF TFNE
                       STATE TF TDAFIO,IN AND FTR THE
                                                          COUNTY OF TWIN F'AILS


     iOHN LLOYD, an inclividual,                                     cv42-20-0030
                                                          Case No

             Pla   inrifl
                                                          SUMMONS
     VS.


     BLUE CROSS OF IDAHO HEALTH SERVICE,
     lNC., a general busi¡ress cor.poratio
                                           n,   d/lt/a
     BLIJE CROSS OF IDAHO,

             Defendant.




MAY ENTER JUDGMEN T AGAÌNST YOU                                    'THE COURT
                                WITHO UT FURTHER NOTICE UNL
WITHIN 21 DAYS                                              ESS YOU RESPONI)


  1'O
  IDAHO

        The llature of the claim again.styou
                                             is ceneral Damages, Breach of contracr,
  Estoppel, Special damages and Attorney                                             Bad Faith,
                                           Fees.

           You are hereby ¡rotified that in order
                                                   to def'end this rawsuit, an appropriate
 response must be filed with lhe Twin                                                         written
                                           Falls Ðistrict co,ri, located at 42;
 Bax 126'' Twin FaÌls, fdaho 83303-0126                                          sr.,o!r",on" st. N., p0
                                               within z1 cùy,after se.uice of this Sumnrons
 yor-r' Tlre Tu¡ín Falrs District court                                                           on
                                        ca¡l be reached   atíag-zza-4azs.

 SUMMONS
 "         I-r
             Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 27 of 32

               Acopyofrheconrplaintisservecl withtirissullrnons.
    of or t'epresentation by a'attortiey in                              Ifyouwishroseel<tlleacìvice
                                                this n",rti"., ñ,r'rñ"ura do so prornptly
    wr-Ítten response, if any, rnay be filåci                                             so t6atyor_rr
                                              in time ancr other regar rights protectecr.

          An appropriate wrilten respollse requires
                                                        cornpliance with Rule 10taJt1) ancl
    Idaho Rules of cÍvil procedure and shail                                                otlier.
                                             also incrucre:

               1   The title and nulnber of this case
              2    Ilyour response is an Ansrve¡'lo the cornplainl,
                                                                            it rnust conrain aclniissiors or
                             of rhe separ'âre ailegarions of rhe cårr.,ptai,ri
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                   :,:11i.'r
              3.   Your signature' mailing adclress and telephone
                                                                        nurnber, or the signatur.e, nrailirrg
                   address_ancl relephone number of yor:r
                                                               attorney.
              4.                                       cleli'e¡v or a cåpv or
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             To determine whether you must pay
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   Clerl< of the above-named cor¡it.



             DATED
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                              '.^                                    Deputy Clerl<
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SiJMMONS
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      Ir
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                                                                                       -
                                                                                       11212020 2:33 ptrt
                                                                                       Fifth Judicial
              Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 PageKristina 32Drstr¡ci,
                                                                    28 ofGlascock.      Twin Falls County
                                                                                    Cf erk of the                        Cor:rt
                                                                                       ay: Lirsha Raney, Deputy Clerk
      Brian J._Hilvercia ItSB No. 79SZ]
      Sfeven R. McRae
                         [iSB No, TgB4i
                ondo IrsB No. 103BeJ
      t1].r'lli
      HILVERDA MCRAE, PLI,C
      812 Shosholle Street Easl
      P.O, Box 12311
      Twin L-alls, ID 93309-1233
      Telephone No. [2 0B) 94.4-0755
      Facsirlile No. (20 B) 736-AA4r



     Altorneys for       pla i ntifT



                   [I\I T[.[E ÐTSTRICT COIJRT'TF'THE
                                                     FIF'TFI IUÐICIAI, DIST'RICT
                         STATE OF IDAFdO, IN ÄND FOR                             ÛF T[-IE
                                                      THE COUNTY TF TWIN FALTS


    JOHN LLOYD, an jnclivicìual,
                                                                case No. cv42_2}_0æa
              Plaintiff,

    VS
                                                                COMPLAINT AND DEMANÐ FÛR
   BLUE CROSS OF ¡DAHO HEALTH                                   IURV TR.IAt
                                      SERVICE,
   lNC., a general business corporat-io
                                                     n, d/b/a
   BLUE CROSS OF IDAHO,

             Defendant.




        Plaintiff JoHN LLOYD, by ancl through
                                                  his ¿rttorney of recorcl, Hilvercia
                                                                                      McRae, PLLC,
 hereby subtrlits the followi trg com¡tlai,t
                                             and Ðemttncl
                                                           for luryTi-ial against Defendant BLUE
 cRoss oF IDAHCI HEALT'H sERVICE,
                                        INC., cilbla BLTJE cRoss oF
                                                                         IDAHo,



           1'   IoHN LLOYD ("Lloyd") is a reside¡rt of Twin Falls,
                                                                   Twin Falls counry, idairo.




CoMtrt,AlN't',1ND t)tiM^ND r,on
                                JL;tty TRTAL _   l
              Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 29 of 32

                  2'    IJpon infbr¡nation ancì belief, BLUE
                                                             cRoss oF IDAI-lo I,IEALTH SERVICE, tNC.,
        d/b/a      BLUE cRoss 0F IDAHo
                                       ["BIue cross") is pt'esently, ancl at all relevant rimes herein
        Ilas been, a general bttsitless corporatiorr
                                                     doing business in the state                   tdaho,
                                                                                              'f
                                                             IUR.tsDrcTroN
               3'      venue is proper irr I'r¡¡in Falls county, lciaho, pursuant
                                                                                  to Idaho cocle $ s-404,
       because         Twin Falls county       i.s   the county in which lhe cause of actio'
                                                                                             arose.
               +'      Jurisdictior: is proper in lhe Districtcourt pursuarÌt to
                                                                                 Idaho cocle g s-s14 a¡rcl in
       that the anlount of dam:lges exceeds
                                            $10,000.00.



              5'Plaintiff realleges each and every allegatio' previousry
                                                                         stated and incorpor.ate by
    ref'erence those allegations as if set forth
                                                 at length.

              6'    Pìaintiffs Blue cross of lciaho's group health insurance
                                                                             policy
                                                                           'unrSer
   10037173' providecl Plaintiff with health
                                             insurance coverage in 2018, Twin F.alls, ,fi,r,in

   Falls County, Idaho.

             7'    on october 7,2a18, Pìaintiff was trearecl at sr.
                                                                    Luke's Magic valley Iìegio'al
  Medical Center.

            B- on october           L5 ,2018,        prairtiff was treateci by Mark
                                                                                    w. wrigrrt,   DDS.

            9'     on october 15,2018, Deferlclant Blue cross pre-apllroved plaintiffls
                                                                                        clental
 irnplants.

            10.   on October rg,z01B, prainrirf underwenr dentar
                                                                 irnprant surgery.
        11' The group policy holder, Milk Hauler services,
                                                           intenrionally paicl Defenclant Blue
cross for insurance coverage through october
                                               31, 2018 for their enrproyees.




CoMpt,AtN'l',rND DtjMitNr) roH
                               Jrttrv Ttrr,tt_ _ 2
               Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 30 of 32

              12' O¡r october 2'3,2018, lhe gfoup
                                                       ¡:olicy holcler, Milk I-{auler service s, emailecl
       Defèrrclart BIue cross i'fclr-rnirrg thenr
                                                  a, ernproyee.s rracJ Lreerr raicl_orî
                  13' Afrer receiving the octol¡e r 23, 2018,
                                                              erlail from                      ûhe   group policy holcler.,
      Defèndallt IJlue cross proceeclecl lo
                                            backc.late rhe group
                                                                 ¡roricy cance¡ation ro se¡rter'rrer
      30,2018.

               14' on october 24,2018, Defenclant Blue
                                                             cross preparecl a lerter ro plaintiff
      ittfort,ing hini the healrh insurance policy
                                                      was terminatecl as of septenrlrer
                                                                                         30, zaß.
               15' ]'he denial of benefits is ¿l breach
                                                        of the                      i¡lsL¡ralrce co'tr-acr, which causecl
                                                                                                                          cìirect
     and consequential danrages to plaintif,f.

                16, plaintiff,is entitled ro collect jll an
                                                            alnount over $10,000 clolla¡.s to
                                                                                              be pr.oven at
    tt'ial'plusinterestattherateoftwelvepercent
                                                                                (r2%)¡ler¿rÌlrumaccruirrg.sincetrreclateof
    breaclr until rhe rrate of juclgrnent pursuant
                                                   to ldaho cocte                           g zl_zzia4..
                                                             COUFJT   II   -   EAD FAITH

               17' Plaintiff realleges each anci every                      allegatior-r previou.sry statecr ancl
                                                                                                                  incorporafe
   by reference those allegations as
                                     if set forth at length.

         1B' Defendant has continuecl in its cienialof
                                                       benefir.s cres¡rite knowlec-lge of
                                                                                          f,acts that
  woulcl p.ovide coverâge' Defenciant's
                                        clenial of benefÍts is unrea.sonable
                                                                              a.cl nor fairly
  debatabre ancl as such a¡,ounts to
                                     the tort of bacr faith.
             19'     As a direct       a'd approximate result                  of Defe'clants' bad faith as asserted
                                                                                                                     herein,
 PlaintifThas been deprived of the
                                   benefits to which he is entitred a¡ld
                                                                          was forcecr to incur
 expenses to obtai'fhe benefits
                                 to u¿ìrich they werc. otherwise entitled
                                                                           and plaintifîhas
 otlierwise been damagec,l in amolrlts
                                       to lre cleterminecl at trial.

                                                            COUNT III   -   ESTOPPEL



Col¡l't.ÂlN.t.,tNl; Driiln¡¡o t.oi{
                                    }t,Rl,.f Rt^t. -   :3
                          Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 31 of 32

                                   20'                       Plaintifi rearlleges each                        ¿r¡icl e\¡ery   allegation prerriously sjtated and
            iricor-po'are by ¡s¡*r*nce those ailegariorrs
                                                          as if set fb¡.th at rerrgtrr.

                                  21'                       Defetlclant aclirisecl Plaintíff anc'l liis
                                                                                                        niedicai ¡rroviciers rhat he r.vas insurecl
            arlcl that Ile was pre-approved for"the
                                                    rneilical rreatnrent. As sucll,                                                              plaintilirelied on this
           statenlelit of ¡rre-appr"oval. Defenclant
                                                                                                               clir-l   not infor¡n plaintiff of insurance coverage
           carcellation untiI after ¡necricar ancr
                                                   creirrar visfts occurrecì.

                              22'                       Def'endarlt pre-appfoveci clental inr¡rlants
                                                                                                     on october                                  - 15,201g, tlien   cleniecl
          paynrent of the delltai itnplarrts on
                                                October. 24, Z0lg.

                              23'                     As a direct alicl appt'oxinr¿¡te re.sult
                                                                                               of Def-encra'ts' estollpel as assel.tecl
         liel'ein' Plairltiff Ìras beeti cleprivecl o1'the
                                                             be¡lefits to rvhiclr he is e'titleclancl
                                                                                                        was fbrcecl to
         incut'expetlse's t0 0btain lhe betref
                                                   it-s to i¡¡hich they were otlrer-rryÍse
                                                                                             entitlecl and plaintÍff
        has otherwise beetl clanragecl in amounts
                                                  to be cleter'rinecl at trial.

                                                                                                         ATTORI{EY'S           F.EES

             2'{' Plaintiff claims attorney's fees pursuant
                                                            to rcì¿rho cocle, inclucli'g Lc.
                                                                                              $S 4j-
      1839and 1'2-121' In the evellt of ciefault,
                                                   a reasonable attorney's fee is
                                                                                   tlrirty-five (3so/o)
      percent ofthe total anrount recoveled

                                                                                                        DEMANÐ FOR IURY TTIIAL

                          25' A iury                         trial        is clemanclecl                     all issues. Plaintifrwill not stipulate
                                                                                                        'n                                           to a jury of less
    than twelve memi:er.ç.

                                                                                                             PRAYER FOR REI,IEF'

                                               \4/l-lEREF0rì8, praintiff john Lroycr pray
                                                                                          for jucrgrne't againsr the ÐefencÌanr
as fbìlows



           1        Fors¡:eciar damages in a¡r amount in
                                                         trre hearth insurance poricy,s l¡e'efits;

C   u M I,t.,,t I ru'¡.       N   lt   L)   t;l.t¡r   I,l   l.r t.o n   J tJ R
                                                                                 y .ltìt   A   t.   4
                          ^
                           Case 1:20-cv-00049-DCN Document 1 Filed 01/31/20 Page 32 of 32
                       2'           For-       general cra'rages irr                                   a' arrio['lt   to rre pfoven at triar

                       3. For reasollable attonley,s                                                     fees ¿¡ncl costs c¡f suit;

                      4. For interest at the stalutot"y rate; ancl
                      5            þ-or such otrrer ancr                                  further rerief as the cou¡.t              ereenrs jr-rsr anci   proper
                                   D¡\'IED this                        2nd clay of Januar.y, ZAZ0,


                                                                                                                              HILVERDA MCRAE, PLLC




                                                                                                                        By:   /s/ Brian J. Hilverda
                                                                                                                              Brian J. Hilverda
                                                                                                                              Attorney fbr plaintifi




Ct.t trt   pl'rr i ¡t't'       N   l-l D   E   Un   ¡¡ ¡.r f ,0   It   I IJR
                                                                               y TtU.,r   I   _   -5
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